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                                               Certificate Number: 03088-NJ-CC-037823156


                                                              03088-NJ-CC-037823156




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 4, 2023, at 6:10 o'clock PM CDT, Harvey M Pinsk
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the District of New
Jersey, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 4, 2023                        By:      /s/Tania Roman


                                               Name: Tania Roman


                                               Title:   Counselor I




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
